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                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON


IMAGINATION INTERNATIONAL, INC.,
an Oregon corporation, JOHN DARLAND,                                Civ. No. 6:19-cv-00203-MK
HILLARY DARLAND, and TAKUMA
TAKAHARA, as shareholders of                                        ORDER
Imagination International, Inc.,

               Plaintiffs,

       v.

KABUSHIKI KAISHA TOO MARKER
PRODUCTS, INC., a foreign corporation
existing under the laws of Japan,

            Defendant.
_____________________________

MCSHANE, Judge:

       Magistrate Judge Mustafa T. Kasubhai filed a Findings and Recommendation (ECF No.

26), and the matter is now before this court. See 28 U.S.C. § 636(b)(1)(B), Fed. R. Civ. P. 72.

Although Plaintiffs did not file objections, I review de novo. United States v. Bernhardt, 840

F.2d 1441, 1445 (9th Cir. 1998). I find no error and conclude the report is correct. Magistrate

Judge Kasubhai’s Findings and Recommendation (ECF No. 26) is adopted. Plaintiffs’ Motion to

Vacate is denied.




1 – ORDER
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IT IS SO ORDERED.

     DATED this 18th day of June, 2020.



                                          _______/s/ Michael J. McShane_______
                                                  Michael McShane
                                              United States District Judge




2 – ORDER
